                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CASE NO. 5:22-CV-030-KDB-DCK

 KAMERON HILTON,                                          )
                                                          )
                Plaintiff,                                )
                                                          )
    v.                                                    )   ORDER
                                                          )
 MERCK & CO., INC., and MERCK, SHARP                      )
 & DOHME CORP.,                                           )
                                                          )
                Defendants.                               )
                                                          )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 18) filed by Theodore C. Edwards, II, concerning

Dino S. Sangiamo, on July 7, 2022. Dino S. Sangiamo seeks to appear as counsel pro hac vice for

Defendants. Upon review and consideration of the motion, which was accompanied by submission

of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 18) is GRANTED. Dino S.

Sangiamo is hereby admitted pro hac vice to represent Defendants.

         SO ORDERED.
                                   Signed: July 7, 2022




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